                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

CAMPBELL STATION INVESTMENTS, LLC,                    )
as Successor Plaintiff to U.S. BANK                   )
NATIONAL ASSOCIATION,                                 )
                                                      )
         Plaintiff,                                   )    Case No. 3:10-cv-00945
                                                      )    Judge Aleta A. Trauger
v.                                                    )    Magistrate Judge John S. Bryant
                                                      )
THE REED FAMILY REAL ESTATE                           )
PARTNERSHIP TWO, L.P.,                                )
                                                      )
         Defendant.                                   )

     ORDER DISCHARGING RECEIVER AND DISMISSING RECEIVERSHIP ACTION
                          WITHOUT PREJUDICE

         Plaintiff Campbell Station Investments, LLC (the “Plaintiff”), as assignee of VFC

Properties 10, LLC, and Receiver Ben A. Burns of Cornerstone Commercial Real Estate Services

of Tennessee, LLC (formerly with Cassidy Turley Midwest Division, Inc.) (the “Receiver”),

through counsel, have jointly moved the Court to (i) discharge the Receiver from his duties upon

disbursement of the final cash funds on hand, and (ii) terminate the receivership and dismiss this

action without prejudice. Having considered the joint motion and the attachments thereto, and

the Court finding good cause therefore, it is hereby ORDERED:

         1.        The Receiver’s final accounting is hereby accepted, and upon disbursement of the

remaining funds in the receivership, the Receiver is discharged from his duties as Receiver. No

further reports shall be due from the Receiver including for any prior months, and as to




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disbursement of the final funds on hand, the Receiver shall simply provide to the Plaintiff an

accounting regarding such funds if requested;

         2.        The Court retains jurisdiction over all matters concerning the receivership, if

necessary to interpret and enforce the terms of this Order; and

         3.        The property comprising the receivership has been duly and properly foreclosed

and sold to the Plaintiff and/or fully administered. Accordingly, this receivership is hereby

terminated, and pursuant to Rule 66, Federal Rules of Civil Procedure, this action is dismissed

without prejudice, with any costs assessed to the Plaintiff.

                     13th
         Enter this _________          November
                              day of ______________, 2012.




                                               ALETA A. TRAUGER
                                               UNITED STATES DISTRICT COURT JUDGE

SUBMITTED FOR ENTRY:

/s/ Thomas H. Forrester
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